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            EXHIBIT D
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           Revised State Template for the
              Consolidated State Plan
The Elementary and Secondary Education Act of 1965, as
      amended by the Every Student Succeeds Act




                                        U.S. Department of Education
                                             Issued: March 2017




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        3. Monitoring and Technical Assistance (ESEA section 3113(b)(8)): Describe:
        i. How the SEA will monitor the progress of each eligible entity receiving a Title III,
        Part A subgrant in helping English learners achieve English proficiency; and
        ii. The steps the SEA will take to further assist eligible entities if the strategies
        funded under Title III, Part A are not effective, such as providing technical
        assistance and modifying such strategies.

   In accordance with Commissioner’s Regulations Part 154, each LEA must develop a
   Comprehensive ELL/MLL Education Plan (CEEP) that describes how the LEA meets the
   educational needs of ELLs/MLLs, including all subgroups of ELLs/MLLs. Additionally, each
   LEA submits an annual Data/Information Report to the Department. The Department reviews
   each CEEP and Data/Information Report to ensure compliance with Commissioner’s
   Regulations Part 154 and Title III.

   To be eligible for Title III funds for ELLs/MLLs, LEAs must have instructional programs for
   ELLs/MLLs that comply with Commissioner’s Regulations Part 154 and Title III. The eight
   RBERNs across New York State also work with LEAs by providing technical assistance and
   professional development. The Department is developing a District/School Self-Evaluation
   Tool to enable LEAs to assess the degree to which their academic instruction meets
   ELLs’/MLLs’ needs and is culturally responsive to ELL/MLL populations. This Self-
   Evaluation Tool includes goals, objectives, and rating scales, and requires LEAs to identify
   and review evidence regarding the quality of their ELL/MLL programs. If strategies and
   practices identified in LEAs’ CEEPs and Data/Information Reports, in Corrective Action
   Plans, and via the District/School Self-Evaluation Tool are found to be ineffective or out of
   compliance, the Department will conduct in-person monitoring, as well as provide technical
   assistance, including data analysis and professional development for educators and
   administrators.

   F. . Title IV, Part A: Student Support and Academic Enrichment Grants
       1. Use of Funds (ESEA section 4103(c)(2)(A)): Describe how the SEA will use funds
       received under Title IV, Part A, Subpart 1 for State-level activities.

New York State is committed to offering all students a safe, supportive, and well-rounded school
experience. In accordance with ESEA Section 4104, the Department will use up to 1% of these
funds to support administrative costs associated with carrying out responsibilities related to
public reporting on how Title IV, Part A funds are being expended by Local Educational
Agencies (LEAs), including the degree to which LEAs have made progress toward meeting the
objectives and outcomes for the program. Up to 4% of SEA-level funds will be used to
strengthen and expand the Department’s work in the following high-priority areas:

1. Supporting LEAs in providing programs and activities that offer well-rounded and culturally
   responsive educational experiences to all students.

The Department is committed to supporting LEAs across New York State to ensure that every
student – including students from traditionally under-served and under-represented racial, ethnic,

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and socio-economic groups – has equitable and sustained access to highly effective schools that
provide a well-rounded, culturally responsive education and rigorous coursework that enables
students to become prepared for college, career, and civic responsibility. Toward that end, the
Department will leverage programmatic and fiscal supports to increase the number of schools
across New York State that demonstrate the following characteristics in serving every student:

 •   Visionary instructional leaders partner with all stakeholders. Visionary instructional leaders
     create a professional, respectful, and supportive school culture and community that values
     and promotes diversity and leads to success, well-being, and high academic and career
     expectations and outcomes for all students. This is accomplished through the use of
     collaborative systems of continual and sustainable school improvement.
 •   All students receive curricula in all disciplines that are challenging, engaging, and
     integrated. The curricula are tied to appropriate formative and summative assessments,
     which are aligned to New York State Learning Standards. This results in instruction that is
     relevant and responsive to student needs and modified to maximize student growth and
     learning outcomes.
 •   Teachers and staff engage in ongoing professional development to equip themselves with
     effective, research-based, strategic instructional practices. Teachers and staff use multiple
     measures, so that targeted instruction maximizes student learning outcomes. Teachers and
     staff address the needs and interests of diverse learners and design lessons and activities that
     are responsive to what students need to learn. These efforts allow students to consistently
     experience high levels of engagement and achievement.
 •   The school community identifies, promotes, and supports social, emotional, physical, and
     cognitive development throughout the school day. This is accomplished by designing
     systems, programs, and strengths-based experiences that identify and foster healthy
     relationships, as well as safe, inclusive, and respectful environments. These efforts lead to
     students developing social emotional skills and barriers to learning being removed.
 •   The school has active partnerships that are culturally and linguistically inclusive and in
     which families, students, community members, and school staff respectfully collaborate.
     These partnerships support student academic progress, social-emotional growth, well-being,
     and personal and civic responsibility, so that students have the opportunity to reach their full
     potential.
 •   The school community identifies, promotes, and supports multiple pathways to graduation
     and career readiness that are based on individual strengths, needs, interests, and aspirations.
     These pathways create access to multiple opportunities for students to pursue advanced
     coursework and actively explore and/or pursue specific career-related coursework and
     experiences in the arts, languages, and Career and Technical Education. Consequently,
     students develop the knowledge and skills to meaningfully transition to postsecondary
     opportunities and to exercise civic responsibility.
 •   The school community continually and critically examines and challenges its own cultural
     assumptions, in an effort to understand how they shape schoolwide policies and practices, so
     as to inform plans for continual movement toward a school environment that is inclusive, as
     well as linguistically and culturally responsive.
 •   The school community promotes cultural responsiveness and appropriate responses to
     individuality and differences, as reflected in policies, programs, and practices. The school

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     examines its cultural assumptions to inform practice and professional development on
     culturally and linguistically responsive pedagogy.

The Department will work to ensure that all students have access to a robust array of courses,
activities, and programs in English, reading/language arts, writing, science, technology,
engineering, mathematics, foreign languages, civics and government, economics, visual and
performing arts, music, theater, history, geography, computer science, career and technical
education, health and wellness, and physical education. The Department will also work to ensure
that all students have access to effective, data-driven academic support services, including multi-
tiered systems of support via Academic Intervention Services and/or Response to Intervention
models. Further, the Department will encourage schools and districts to utilize curricula and
education experiences that employ Universal Design for Learning principles, and create
opportunities for students to see themselves in daily teaching and learning activities.

In addition to academic supports, the Department will work to ensure that students have access to
non-academic support services, such as social-emotional, behavioral, mental health, and social
services provided by specialized instructional support personnel, such as school counselors,
school social workers, school psychologists, school nurses, speech language pathologists,
audiologists, behavioral specialists, and licensed creative arts therapists. The Department will
promote the practice of integrating learning supports (e.g., behavioral, mental health, and social
services), instruction, and school management within a comprehensive, cohesive approach that
facilitates multidisciplinary collaboration. The Department will continue to promote school and
district use of its Social and Emotional Development and Learning (SEDL) Guidelines. This
guidance document aims to give New York State school communities a rationale and the
confidence to address child and adolescent affective development as well as cognitive
development.

The Board of Regents also strongly supports providing students access to extra-curricular
opportunities so that students can serve their schools and their communities, participate in
community-based internships, and engage in sports and the arts. The Department recognizes that,
for many students, the provision of access to this these types of well-rounded educational
experiences must include supports, services, and opportunities that take place outside of the
school day. The Department believes that community organizations can play a crucial role in
bringing essential resources and expertise to schools, complementing and supplementing what
the rest of the school day delivers. Community partnerships expand the types of learning
experiences to which students are exposed, bringing arts instruction, civics and service, hands-on
science, sports and physical fitness, and/or vocational education and career readiness activities
into the school schedule. To ensure that all students benefit from school-community partnerships,
the Department will require schools and districts undertaking a Comprehensive Needs
Assessment as part of CSI or TSI school improvement and creating plans based off of such
assessment to incorporate input from relevant community partners that work in the school or
work with the students that the school serves in a community-based setting, such as afterschool
providers, summer program providers, early care providers, community colleges, health
providers, and mental health providers.



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In addition, the Department will allow Title I schools that meet alternative criteria to implement
a Schoolwide program, even if their poverty rates are below 40 percent in order to ensure that all
students have access to a well-rounded education. As was the case under the ESEA Flexibility
Waiver, New York State will use such waivers so that an LEA may implement interventions
consistent with the turnaround principles or interventions that are based on the needs of the
students in the school and designed to enhance the entire educational program in any of its
identified schools, even if those schools do not have a poverty percentage of 40 percent or more.
In making determinations about waiver requests, the Department plans to develop a rubric to
assess each request against standardized criteria. The Department anticipates that waiver requests
will be reviewed throughout the year to provide timely support and technical assistance to LEAs
and schools during the planning process.

2. Supporting LEAs in fostering safe, healthy, supportive, and drug-free environments that
   support student academic achievement

The Department believes that effectively engaging parents and families is critical to establishing
safe, healthy, and supportive environments for students in all schools across the State. To ensure
that all students are supported by strong home-school-community partnerships, the Department
will promote State-, district-, and school-level strategies for effectively engaging parents and
other family members in their children’s education, based on inclusive, equitable school cultures
that recognize and foster student diversity. The Board of Regents recognizes that (1) improved
student achievement is linked to engaging parents and families in the education process, (2)
parents and families are the first educators of children, and (3) education is the shared
responsibility of schools, parents and families, and the community. The Department also
prioritizes family engagement as a critical component in a child’s education for the following
reasons:

    •   Family engagement supports children’s school readiness academically, socially, and
        emotionally
    •   Home-school partnerships are formed when families are engaged in their child’s learning
    •   Families that support their child’s learning more easily recognize gaps, if they occur, and
        can advocate for needed services
    •   Families that are engaged in the early years tend to continue to stay engaged throughout
        their child’s education, making smooth transitions from home to school throughout the P-
        12 continuum
    •   Family involvement benefits educational systems, as it is a contributory factor in all
        school improvement efforts

With these tenets in mind, the Department will continue to provide capacity-building resources
and professional development for school administrators, instructional staff, and non-instructional
staff who interact directly with families. The Department will provide LEAs with guidance and
best practice-based resources, such as the Dual Capacity Building Framework for Family-School
Partnerships, to help support the targeted and effective use Title I, Part A and/or Title IV, Part A
funds for parent and family outreach and engagement activities.


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